Case 15-01024 Doc 149 Filed 05/25/16 Entered 05/25/16 11:29:05 Main Document Page 1 of 2




                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA

     IN RE:                                    *     CHAPTER 7
                                               *
     William A. Demmons and                    *     DIVISION “B”
     Karen S. Fowler                           *
     Debtors                                   *
                                               *     CASE NO. 14-11638
     **********************************************************************
                                               *
     William A. Demmons and                    *
     Karen S. Fowler                           *
                                               *
             Plaintiff/ Debtors                *     ADV PROC. NO. 15-01024
                                               *
     versus                                    *
                                               *
     R3 Education Inc., dba Saba University    *
     School of Medicine; American              *
     Educational Services; Maine               *
     Educational Services; Navient Solutions,  *
     Inc., and Nelnet, Inc, FCDB NPSL, LLC     *
     Deutche Bank, Key Bank, NA, Key Bank      *
     USA, NA, Educational Credit               *
     Management Corporation,                   *
             Defendants                        *

     *************************************************************************

                         NOTICE OF RECEIPT OF TRIAL TRANSCRIPT

            NOTICE is hereby given that debtor=s counsel received a physical copy of the Trial
     Transcript on May 18, 2016.

                                                THE DE LEO LAW FIRM L.L.C.


                                                /s/Robin R. De Leo
                                                Bar Roll No. 20347
                                                800 Ramon St.
                                                Mandeville, LA 70448
                                                (985) 727-1664
                                                (985) 727-4388 (Facsimile)
Case 15-01024 Doc 149 Filed 05/25/16 Entered 05/25/16 11:29:05 Main Document Page 2 of 2




                                      CERTIFICATE OF SERVICE

            I HEREBY CERTIFY THAT a true copy of the Notice of Receipt of Trial Transcript has

     been served via electronic filing on this 25th day of May, 2016, to the following:

     Office of the U.S. Trustee                    USTPRegion05.NR.ECF@usdoj.gov

     Earl F. Sundmaker                             trey@sundmakerfirm.com
     The Sundmaker Firm
     1027 Ninth St.
     New Orleans, LA 70115

     Joseph M McCandlish                           jmccandlish@weltman.com
     Weltman Weinberg & Reis Co., LPA
     3705 Marlane Drive
     Grove City, OH 43123

     Heather LaSalle                               hlasalle@mcglinchey.com
     McGlinchey Stafford, PLLC
     601 Poydras Street, 12th Floor
     New Orleans, LA 70130

                                                          The DE LEO LAW FIRM LLC
                                                          /s/ Robin De Leo
                                                          Robin De Leo
                                                          Bar Roll No. 20347
                                                          800 Ramon St.
                                                          Mandeville, LA 70448
